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PLEASE REPLY TO:
TROY OFFICE

 

Syracu e, New York 13261-7346

Re: _Iohn Doe v. Hartwick College
Civil Action No. 1:17-cv-00853 (BKS/FWD)

Dear l\/iagistrate Judge Dancks:

I am wi iting to inform the Court as to an unexpected difficulty that has arisen with regard
to the mandatory mediation in this matter which was scheduled for April 18, 2018 with
retired magistrate David Homer.

Due to unforeseen circumstances, and literally on the eve of the mediation, Judge
Homer s office contacted defense counsel and my office to inform us that Judge Homer
required immediate emergency surgery on his knee, and would have to cancel the
mediat on. Judge Homer intends to return to his work by the beginning of June.

Accorc,ingly, it became impossible to meet the mediation deadline set by the Court, and
the parties have been engaging in good faith negotiations to develop the proposal which I
am putiting before the Court in this letter.

While in other cases it may have made sense to simply abandon one mediator and seek
out ther, in this matter Judge Homer has already invested significant time into the
matter and has mediated this case over the phone with counsel on numerous occasions,
both t gether and individually. He has gained significant knowledge of the operative
facts, e respective positions of the parties and, perhaps most importantly, the evolution
of the negotiations between the parties through the course of weeks and weeks of back
and f rth, good faith negotiations Both parties would prefer to have Judge Homer
contin e as mediator because he seems best placed to aid the parties in reaching
agreement

 

Thus, defense counsel and I are requesting that the Court extend the mediation deadline
to the end of June, so that We can continue with Judge Homer as the mediator in this case.
Similzrly, we are requesting that the operative discovery deadlines be extended by a
corresponding amount.

 

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Thank jou for your courtesies and attention to this request.
Very trlj»_ily yours,

E. STE§FVART JONES HACKER MURPHY, LLP

 
  

 
 

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